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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED SATES OF AMERICA                                   CRIMINAL ACTION

VERSUS                                                    NUMBER: 12-001

TELLY HANKTON                                             SECTION “F”(5)

                                   ORDER AND REASONS

       Before the Court is Defendant’s, Telly Hankton’s, Supplemental Motion for Limited

Preauthorization Discovery. Magistrate Judge Chasez previously ruled upon that motion,

denying it in most respects but ordering the government to produce certain requested

materials for in camera inspection. That inspection is complete and, for the reasons set

forth below, Hankton’s request for production of that material is DENIED.

                                        Background

       On October 18, 2012, the Federal Grand Jury returned a twenty-two count Second

Superseding Indictment against Telly Hankton and twelve other individuals. [Rec. Doc. 73]

Five of the defendants, including Hankton, are eligible to face the death penalty if convicted.

Specifically, Hankton is charged with RICO conspiracy, conspiracy to distribute controlled

substances, conspiracy to possess firearms, assault with a dangerous weapon in aid of

racketeering, murder in aid of racketeering, causing death through use of a firearm, and

money laundering.

       On June 19, 2013, Hankton filed his first motion for limited preauthorization

discovery, requesting disclosure of various materials for use in the capital punishment
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preauthorization process. After holding a hearing on the motion and reviewing certain

materials in camera, Magistrate Judge Chasez granted the motion in part and denied it in

part. On September 13, 2013, Hankton presented his original mitigation submission to the

U.S. Attorney's Office. Shortly thereafter, on October 3, 2013, Hankton filed a supplemental

motion for limited preauthorization discovery, seeking additional materials related to

allegations of prosecutorial misconduct.            [Rec. Doc. 286].       On November 21, 2013,

Magistrate Judge Chasez held a hearing on that motion, denying most of Hankton’s requests

for relief, with the single exception being his request for in camera review of grand jury

transcripts reflecting the presence of Assistant U.S. Attorney Maurice Landrieu, former U.S.

Attorney Jim Letten, and former First Assistant U.S. Attorney Jan Mann. Magistrate Judge

Chasez ordered the Government to provide her with grand jury transcripts ex parte for an

in camera review. [Rec. Docs. 439, 446]. Specifically, the Court ordered:

                the government is to provide the Court, for purposes of an in
                camera inspection, with any grand jury testimony that was
                elicited in this case by Maurice Landrieu, Jan Mann, or Jim
                Letten pertaining to the defendant or any comments that were
                made by Landrieu before the grand jury pertaining to the
                defendant that were of an inflammatory nature. [Rec. Doc.
                446].

The United States unsuccessfully appealed Magistrate Judge Chasez’s Order to District

Judge Martin L.C. Feldman. [Rec. Doc. 539].

        Pursuant to Judge Chasez’s Order, on March 10, 2014, the United States submitted to

the undersigned Magistrate Judge1 voluminous grand jury transcripts for in camera review.


1 Magistrate Judge Chasez retired from the bench before the transcripts were produced by the government.


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This Court has completed the in camera review of all of the testimony presented by the

government and finds that none of the testimony or colloquy submitted should be

produced to Hankton in response to his Motion.

                                   Law and Application

       Rule 16 of the Federal Rules of Criminal Procedure governs discovery in a criminal

case. Generally, under Rule 16(a)(1)(E)(1), the government must disclose items "material

to preparing the defense." The government is not required to disclose grand jury materials,

"except as provided in Rules 6, 12(h),16(a)(1), and 26.2." Fed. R. Crim. P. 16(a)(3). Under

Rule 6, the Court may authorize disclosure of grand jury materials:

              (i) preliminarily to or in connection with a judicial proceeding;
              [or]
              (ii) at the request of a defendant who shows that a ground may
              exist to dismiss the indictment because of a matter that
              occurred before the grand jury[.]

Fed. R. Crim. P. 6(e)(3)(E). A defendant seeking discovery of grand jury materials must

show a "particularized need" for the requested materials. See, e.g., United States v. Proctor

& Gamble, 356 U.S. 677, 682 (1958); United States v. Miramontez, 995 F.2d 56, 59 (5th Cir.

1993). To meet this burden, the defendant must show that

              (1) the material he seeks is needed to avoid a possible injustice
                  in another judicial proceeding, (2) the need for disclosure
                  is greater than the need for continued secrecy, and (3) his
                  request is structured to cover only the material so needed.

Miramontez, 995 F.2d at 59.




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        In this matter, the Court finds, after in camera review of the requested material, that

the defendant has not demonstrated a “particularized need” for the material requested,

primarily because there is nothing in the submitted material that “is needed to avoid a

possible injustice” in this or any other judicial proceeding.               Simply, there is nothing

contained in the submitted Grand Jury transcripts that suggests prosecutorial misconduct

on the part of any of the participating government attorneys.

        The government submitted and this Court reviewed over 1,700 pages of testimony

and colloquy from the examination and testimony of some 41 witnesses taken over 12 days

of Grand Jury proceedings. The United States submitted for review by this Court all

testimony and colloquy for which the transcripts indicated that AUSA Landrieu might have

been present,2 while making it clear in its submission that it did not believe that AUSA

Landrieu had made any “inflammatory comments” in those proceedings.

        This Court agrees. In fact, as to many of the witnesses whose testimony was

provided by the government for in camera review, Mr. Landrieu did not appear on the

record to participate in their examinations in any way. Where he did participate, the

record reveals no instances of “inflammatory comments” or any other conduct or comment

suggesting prosecutorial misconduct.




2 Neither Letten nor Mann were present for any of the proceedings.


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       Accordingly, Defendant’s Supplemental Motion for Limited Pre-Authorization

Discovery [Rec. doc. 392] seeking production of the grand jury transcripts in this matter is

DENIED.
                   Hello This is a Test
       New Orleans, Louisiana, this 2nd day of              April            , 2014.




                                                       MICHAEL B. NORTH
                                                  UNITED STATES MAGISTRATE JUDGE




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